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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

SARA W. SEVERINI,
f/k/a SARA WEISS,
an individual,                                               Case No.: 8:17-cv-00962-JSM-AEP

        Plaintiff,
v.

NELNET GUARANTOR
SOLUTIONS, LLC,
a Florida limited liability company,

      Defendant.
___________________________________/

                            NOTICE OF PENDING SETTLEMENT

        COMES NOW, Plaintiff, SARA W. SEVERINI, f/k/a SARA WEISS (hereinafter,

“Plaintiff”), by and through the undersigned counsel pursuant to Local Rule 3.08, Middle District

of Florida, and hereby submits this Notice of Pending Settlement and states:

        1.      Plaintiff and   Defendant,    NELNET GUARANTOR                 SOLUTIONS,     LLC

(hereinafter, “Defendant”), reached a conditional settlement regarding all claims in this case, and

the parties are presently drafting, finalizing, and executing a written settlement agreement and

release of liability.

        2.      Upon execution of a mutually-agreeable settlement agreement and release—and

compliance with its terms—undersigned counsel will execute and file a Joint Stipulation for

Dismissal with Prejudice.

        3.      To the extent this Court treats the foregoing as a Motion, pursuant to Middle

District of Florida Local Rule 3.01(g), the undersigned certifies he consulted with Defendant's

counsel, and Defendant agrees to the relief sought herein.
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       Submitted this 21st day of September 2017.

                                             Respectfully submitted,
                                             LEAVENLAW

                                             /s/ Aaron M. Swift
                                             Ian R. Leavengood, Esq., FBN 010167
                                             Aaron M. Swift, Esq., FBN 093088
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                                             glercher@leavenlaw.com
                                             Attorneys for Plaintiff

                                CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that I electronically filed a copy of the foregoing Notice of

Pending Settlement with the Clerk of the Court via the CM/ECF system, and a copy of the same

has been furnished electronically this 21st day of September 2017 to:

       Daniel C. Johnson, Esq.
       Carlton Fields Jorden Burt, P.A.
       450 S. Orange Avenue, Suite 500
       Orlando, FL 32801
       djohnson@carltonfields.com
       Attorneys for Defendant Nelnet Servicing, LLC,
       incorrectly named as Nelnet Guarantor Solutions, LLC


                                             /s/ Aaron M. Swift
                                             Attorney
